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          UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

     No. 22-2003/22-2004/22-2005/22-2006/22-2007/22-2008/22-2009/22-2010/22-2011

                        In Re: LTL MANAGEMENT LLC, Debtor

              OFFICIAL COMMITTEE OF TALC CLAIMANTS, Appellant

                                            v.

    THOSE PARTIES LISTED ON APPENDIX A TO COMPLAINT AND JOHN AND
                           JANE DOES 1-1000

                          (Agency No. 21-bk-30589, 21-ap-03032)

Present: AMBRO*, RESTREPO and FUENTES, Circuit Judge

         1. Motion filed by Appellee LTL Management LLC in 22-2003, 22-2004, 22-
            2005, 22-2006, 22-2007, 22-2008, 22-2009, 22-2010, 22-2011 to stay mandate.

         2. Response filed by Appellant Official Committee of Talc Claimants in 22-2003
            to motion to stay mandate.

         3. Response filed by Appellant Arnold & Itkin LLP in 22-2009 to motion to stay
            mandate.

         4. Reply by Appellee LTL Management LLC to Appellees’ Responses to motion
            to stay mandate.


                                                           Respectfully,
                                                           Clerk/JK

_________________________________ORDER________________________________
The foregoing motion to stay mandate is DENIED.


                                                           By the Court,

                                                           s/ Thomas L. Ambro
                                                           Circuit Judge

*
    Judge Ambro assumed senior status on 02/06/2023
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Dated: March 31, 2023
JK/cc: All Counsel of Record
